                       Case 4:23-cv-03801-YGR Document 4 Filed 07/31/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                     Northern District
                                                  __________  District of
                                                                       of California
                                                                          __________

         M.L. individually and on behalf of A.W.                                )
                                                                                )
                                                                                )
                                                                                )
                            Plaintiff(s)                                        )
                                                                                )
                                v.                                                                Civil Action No. 4:23-cv-3801-YGR
                                                                                )
                 Meta Platforms, Inc., et al.                                   )
                                                                                )
                                                                                )
                                                                                )
                           Defendant(s)                                         )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SEE ATTACHMENT




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Laura Marquez-Garrett
                                           SOCIAL MEDIA VICTIMS LAW CENTER
                                           520 Pike Street, Suite 1125
                                           Seattle, WA 98101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             07/31/2023
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